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                                                                                      of 1
                                                                                EASTERN DISTRICT ARKANSAS
                                                                                                                .U.~OISTRICT ~RT
(Pos"'t. 4/2/12)


                                                                                                                FEB 2 6 2013
                                              IN THE UNITED STATES DISTRICT COURT JAM~ERK
                                                 EASTERN DISTRICT OF ARKANSAS     By:   '
                                                       WESTERN DIVISION                DEP CLERK


                   UNITED STATES OF AMERICA                                                                      PLAINTIFF

                           vs.

                                                                                                               DEFENDANT


                                         WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                            AND ENTRY OF PLEA OF NOT GUILTY
                                  (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                           NOW COMES Defendant in the above-referenced case who, along with hisfner undersigned attorney,
                   hereby acknowledges the following:

                   1)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                           information in this case. Defendant understands the nature and substance of the charges contained
                           therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                           advised of all of the above by his/her attorney.

                   2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                           for arraignment in open court on this accusation. Defendant further understands that, absent the
                           present waiver, he/she will be so arraigned in open court.

                   Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                   his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                   information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                   the Court of said plea for defendant will conclude the arraignment in this case for all purposes.



                           Date     '

                             ~(~~~'}
                           Date


                                                            ORDER OF COURT

                            The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                            plea of not guilty is entered for the defendant effective this date.

                    ll      The defendant's request to waive appearance at the arraignment is hereby DENIED.


                            Date



                   cc:     All Counsel of Record
                           U.S. Probation Office
                           U.S. Marshals Service
                           Presiding Magistrate Judge
